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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                  SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                              CASE NO. 5:18-CR-00252-02

 VERSUS                                                JUDGE ELIZABETH E. FOOTE

 MIKE MOSURA (02)                                      MAGISTRATE JUDGE HORNSBY

                                    MINUTES OF COURT:
                                   Sentencing (held via VTC)
  Date:                August 21, 2020         Presiding: Judge Elizabeth E. Foote
  Court Opened:        10:00 a.m.              Courtroom Deputy: Kathy Keifer
  Court Adjourned:     10:30 a.m.              Court Reporter:       Barbara Simpson
  Statistical Time:    00:30                   Courtroom:            VIDEO CONFERENCE
                                               Probation Officer:    Jonathan Guthrie

                                         APPEARANCES
  Earl M Campbell (AUSA)                       For   United States of America
  Howard Lyn Lawrence Jr (RET)                 For   Mike Mosura (02), Defendant
  Mike Mosura (02)                                   Defendant (LOCATION RELEASE)

                                         PROCEEDINGS
 COMMENTS/RULINGS:

 The hearing in this matter was held via zoom/video conference pursuant to the CARES Act and the
 Standing Orders issued by Chief Judge Hicks pursuant to that Act. All parties appeared via video
 conference. This proceeding was conducted at the request of Defendant after appropriate consultation
 with his attorney, and with consent of the Government. The waiver signed by Defendant and his
 counsel has been filed in CM/ECF.

 Pursuant to the Sentencing Reform Act of 1984, it is the judgment of this Court that the
 Defendant is hereby placed on supervised probation for a term of three (3) years as to Count 1.

 The defendant was ordered to pay a $100.00 special assessment to the Crime Victim Fund, to be
 paid immediately to the U.S. Clerk of Court. A fine of $3,600.00 is ordered. The Court will
 waive the interest and penalty requirements for the fine.

 The defendant is notified of the right to appeal. If a Notice of Appeal is filed under 18 U.S.C.
 §3742, a Review of Sentence, the Clerk is directed to transmit the presentence report, under seal,
 to the Court of Appeals. If the defendant wishes to appeal, Mr. Lawrence will be appointed to
 represent defendant and file said Notice of Appeal.
